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                         UNITED STATES DISTRICT COURT
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10                      CENTRAL DISTRICT OF CALIFORNIA
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12   CHRISTOPHER AGUILAR,                       Case No.: 2:21-cv-05813-AB (ASx)
13
                       Plaintiff,
14                                              [PROPOSED] ORDER
                                                GRANTING STIPULATION
15               vs.                            REGARDING PLAINTIFF’S
                                                ATTORNEY’S FEES, COSTS AND
16                                              EXPENSES
     FCA US LLC, a Delaware Limited
17   Liability Company; and DOES 1 through
18   10, inclusive,

19
20                     Defendants.
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                          [PROPOSED] ORDER ON STIPULATION
     Case 2:21-cv-05813-AB-AS Document 23 Filed 11/19/21 Page 2 of 2 Page ID #:187




1          THE COURT, having reviewed the Parties’ Stipulation regarding Plaintiff’s
2    Attorney’s Fees, Costs, and Expenses, IT IS HEREBY ORDERED that:
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4          (1) Defendant FCA US LLC (“Defendant”) shall pay the sum of $6,500.00 to
5                Plaintiff Christopher Aguilar (“Plaintiff”);
6          (2)   Plaintiff hereby agrees to accept said payment in full satisfaction of all
7                claims for attorney’s fees, costs and expenses in connection with this action;
8                and
9          (3) Defendant shall pay the sum of $6,500.00 to Plaintiff within 60 days of
10               November 17, 2021, unless matters outside of the control of Defendant
11               cause delay.
12         IT IS SO ORDERED.
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14   Dated: November 19, 2021
15                                           HONORABLE ANDRÉ BIROTTE JR.
                                             UNITED STATES DISTRICT JUDGE
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                            [PROPOSED] ORDER ON STIPULATION
